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                                 UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF VIRGINIA
                                      Charlottesville Division


       ELIZABETH SINES, SETH WISPELWEY,
       MARISSA BLAIR, APRIL MUÑIZ,
       MARCUS MARTIN, NATALIE ROMERO,
       CHELSEA ALVARADO, JOHN DOE, and
       THOMAS BAKER,

                                        Plaintiffs,             Civil Action No. 3:17-cv-00072-NKM

       v.                                                            JURY TRIAL DEMANDED

       JASON KESSLER, et al.,

                                        Defendants.


                  MOTION FOR PRO HAC VICE ADMISSION OF AGBEKO C. PETTY

             Pursuant to Rule 6(d) of the Local Rules for the United States District Court for the Western

   District of Virginia, I, Robert T. Cahill, an attorney admitted to practice in this Court, and counsel

   of record in the instant proceeding hereby moves the Court for the admission of Agbeko C. Petty,

   Esquire to appear pro hac vice on behalf of the Plaintiffs in the above captioned case and in support

   thereof states as follows:

             1.       Ms. Petty is an associate with the law firm of Paul, Weiss, Rifkind, Wharton &

   Garrison LLP, 2001 K Street NW, Washington, DC 20006-1047. Tel: 202.223.7300, Fax:

   202.223.7420, Email: apetty@paulweiss.com.1

             2.       Ms. Petty is qualified and licensed to practice law and is a bar member in good

   standing in New York (Bar ID No. 5525381 – Since June 19, 2017).




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       Admitted only in New York. Not a member of the DC Bar. Supervised by a member of the DC Bar.
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          3.      Ms. Petty agrees to submit and comply with the appropriate rules of procedure as

   required in the case for which she is applying to appear pro hac vice as well as the rules and

   standards of professional conduct applicable to all lawyers admitted to practice before this Court.

          WHEREFORE, for the reasons stated above, it is requested that this Court grant this motion

   and permit Agbeko C. Petty, Esq. to appear pro hac vice on behalf of Plaintiffs in the above

   captioned case, and to appear at hearings or trials in the absence of an associated member of the

   bar of this Court.



    Dated: September 24, 2021                           Respectfully submitted,

                                                        /s/ Robert T. Cahill
                                                        Robert T. Cahill (VSB 38562)
                                                        COOLEY LLP
                                                        11951 Freedom Drive, 14th Floor
                                                        Reston, VA 20190-5656
                                                        Telephone: (703) 456-8000
                                                        Fax: (703) 456-8100
                                                        rcahill@cooley.com




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                                        CERTIFICATE OF SERVICE

          I hereby certify that on September 24, 2021, I filed the foregoing with the Clerk of Court
   through the CM/ECF system, which will send a notice of electronic filing to:

    Justin Saunders Gravatt                                   Bryan Jones
    David L. Hauck                                            106 W. South St., Suite 211
    David L. Campbell                                         Charlottesville, VA 22902
    Duane, Hauck, Davis & Gravatt, P.C.                       bryan@bjoneslegal.com
    100 West Franklin Street, Suite 100
    Richmond, VA 23220                                        Counsel for Defendants Michael Hill,
    jgravatt@dhdglaw.com                                      Michael Tubbs, and League of the South
    dhauck@dhdglaw.com
    dcampbell@dhdglaw.com                                     James E. Kolenich
                                                              Kolenich Law Office
    Counsel for Defendant James A. Fields, Jr.                9435 Waterstone Blvd. #140
                                                              Cincinnati, OH 45249
    W. Edward ReBrook                                         jek318@gmail.com
    The ReBrook Law Office
    6013 Clerkenwell Court                                    Elmer Woodard
    Burke, VA 22015                                           5661 US Hwy 29
    edward@rebrooklaw.com                                     Blairs, VA 24527
    rebrooklaw@gmail.com                                      isuecrooks@comcast.net

    Counsel for Defendants National Socialist Movement,       Counsel for Defendants Jason Kessler, Nathan
    Nationalist Front, Jeff Schoep, Matthew Heimbach,         Damigo, and Identity Europa, Inc. (Identity Evropa)
    Matthew Parrott and Traditionalist Worker Party

    Joshua Smith Esq.
    Smith LLC
    807 Crane Ave.
    Pittsburgh, PA 15216
    joshsmith2020@gmail.com

    Counsel for Matthew Heimbach, Matthew Parrott and
    Traditionalist Worker Party


           I hereby certify that on September 24, 2021, I also served the foregoing upon following
   pro se defendants, via electronic mail, as follows:

    Richard Spencer                                           Vanguard America
    richardbspencer@gmail.com                                 c/o Dillon Hopper
    richardbspencer@icloud.com                                dillon_hopper@protonmail.com

    Robert Ray                                                Elliott Kline
    azzmador@gmail.com                                        eli.f.mosley@gmail.com
                                                              deplorabletruth@gmail.com
                                                              eli.r.kline@gmail.com




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           I hereby certify that on September 24, 2021, I also served the foregoing upon following
   pro se defendant, via first class mail, as follows:

   Christopher Cantwell
   Christopher Cantwell 00991-509
   USP Marion
   U.S. Penitentiary
   P.O. Box 2000
   Marion, IL 62959

                                                       /s/ Robert T. Cahill
                                                       Robert T. Cahill




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